                        Case 6:18-bk-06821-CCJ       Doc 95      Filed 04/16/19   Page 1 of 2
                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA


                                        PRO MEMO

                                                          04/16/2019 02:00 PM
                                                          COURTROOM 6D, 6th Floor
HONORABLE CYNTHIA JACKSON
CASE NUMBER:                                              FILING DATE:
6:18-bk-06821-CCJ                      7                    10/31/2018
Chapter 7
DEBTOR:               Don Juravin


DEBTOR ATTY:          Jonathan Sykes
TRUSTEE:              Dennis Kennedy
HEARING:
Preliminary Hearings
(1) Objection by Debtor to Production of
Documents by Trustee Pursuant to
Subpoena Issued by DCS Real Estate
Investments, LLC Directed to Trustee and
Motion for Protective Order (Doc #51)
(2) Objection by Debtor to Production of
Documents by Trustee Pursuant to Subpoena
Issued by Bella Collina Property Owner's Assoc
Directed to Trustee and Motion for Protective
Order (Doc #62)
(3) Omnibus Objection by Debtor to
Subpoenas by Trustee and Motion for
Protective Order (Doc #69)
(4) Objection by Debtor to Subpoenas by
Trustee and Motion to Quash Subpoenas
and for Protective Order (Doc #72)
Note: Con't from 4/9/19
341 Meeting Con't to 5/7/19 at 11:30
Upcoming Hearing 5/14/19 at 1:45 re: Jt Motion
to Relief from Stay by Bela Collina Property
Owener's Assoc and DCS Real
Estate Investmnts (Doc #76) filed 3/29/19
Pending Motion(s) filed w/neg ntc:
(1) Motion by DCS Real Estate Investment,
LLC's for Further Enlargement of Time Within
Which to File a Complaint Objecting
to Debtor's Discharge Pursuant to U.S.C.
Section 727 and Dischargeability of Debt
                                 Case Number 6:18-bk-06821-CCJ              Chapter 7
                         Case 6:18-bk-06821-CCJ
Pursuant to 11 U.S.C. Section 533 (Doc #78)
                                                           Doc 95      Filed 04/16/19      Page 2 of 2
filed 4/2/19
(2) Second Motion by Bella collina Property
Owners Assoc to Extend Time to Object to
Discharge or to Determine Dischargeability
of a Debt (Doc #79) filed 4/2/19
Related Adv 19-ap-30-CCJ
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APPEARANCES:: Brad Saxton/Lauren Reynolds: Trustee Atty; David Landis: DCS Real Estate Investments Atty; William
Matthews: Bella Collina Property Owners Atty; Jonathan Sykes: Debtor Atty;

RULING:
Preliminary Hearings: (1) Objection by Debtor to Production of Documents by Trustee Pursuant to Subpoena Issued by DCS Real
Estate Investments, LLC Directed to Trustee and Motion for Protective Order (Doc #51) - cont. in open court to 5/14/2019 at 1:45
p.m. - rescheduled to June 11, 2019 at 2:00 p.m.; (2) Objection by Debtor to Production of
Documents by Trustee Pursuant to Subpoena Issued by Bella Collina Property Owner's Assoc
Directed to Trustee and Motion for Protective Order (Doc #62) - cont. in open court to 5/14/2019 at 1:45 p.m. - rescheduled to
June 11, 2019 at 2:00 p.m.; (3) Omnibus Objection by Debtor to Subpoenas by Trustee and Motion for Protective Order (Doc
#69) - cont. in open court to 5/14/2019 at 1:45 p.m. - rescheduled to June 11, 2019 at 2:00 p.m.; (4) Objection by Debtor to
Subpoenas by Trustee and Motion to Quash Subpoenas
and for Protective Order (Doc #72) - cont. in open court to 5/14/2019 at 1:45 p.m. - rescheduled to June 11, 2019 at 2:00 p.m.
(5) Ore Tenus Motion by Burr Forman to Withdraw As Counsel for Debtor - Granted with 14 days for debtor to object- Court to
prepare order and direct debtor to retain counsel (gww)

Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 6:18-bk-06821-CCJ                     Chapter 7
